        Case 6:21-cv-01209-SAC-KGG Document 1 Filed 08/31/21 Page 1 of 40

                                                                                                FILED
                                                                                             U.S. District .Court
                                                                                              District of Kansas


                                                                                            AUG ·3 l 2021
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS                           By         b
                                                                                      Cler~ •t Court
                                                                                               Dapuly Clerk


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 ~\~- ~\,,~'\- ~\                                        ~
   (Enter ~~'the full name of the Plaintiff(s)           )
                                                         )
  vs.                                                    )              6:21-cv-1209-SAC-KGG
                                                             Case Number_ _ _ _ _ __

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  ~ : ~ ~mber          ~             \p\)-~"             ~
  City                    State             ZipCode )

   (Enter above the full name and address of the
   Defendant in this action - list the name and
   address of any additional defendants on the back
   side of this sheet).
                                          CIVIL COMPLAINT

   I.     Parties to this civil action:

          (In item A below, place yo ur name in the first blank and place yo ur present address in the
          second blank. Do the same for additional plaintiffs, if any, on the back sid e of thi s sheet).

          A.      Name o f plaintiff      ~ ~ Q ~ \,. , ~~
                                                t)a~i,_', \l,_\IL ~ ~ _)\l_i _ __
                 ~,,~x~,
                  Address\ ~ ' , \ \ ~ ~

                                    ~~     "°,~~~




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          Case 6:21-cv-01209-SAC-KGG Document 1 Filed 08/31/21 Page 2 of 40


'

            (In item B below, write the full name of the defendant in the first blank. In the second
            blank, write the official position of the defendant. Use item C for the names and positions
            of any additional defendants).

            B.      Defendant     w·&,\-.~~ ~~\\., \1~.~~~                                                 IS


                    employed at   ~~,~ \~\~

            C.      Additional Defendants- - - - - -- -- - - - - - - - -- - - -




    II.     Jurisdiction:

            (Complete one or more of the following subparagraphs, A., B. l, B.2., or B.3., whichever is
            applicable.)

            A. (If Applicable) Diversity of citizenship and amount:
                    1.                                                '\t'1
                            Plaintiff is a citizen of the State of - - - -~ - - - -
                    2.      The first-named defendant above is eithe\
                                   a. a citizen of the State of   \A\\,~~       ~~s         ; or
                                   b. a corporation incorporated under the laws of the State of

                                        --------
                                                                and having its principal place of business
                                        in a State other than the State of which plaintiff is a citizen.


                    3. The second-named defendant above is either
                                   a.      a citizen of the State of - - - --       - --
                                                                                              ; or
                                   b.      a corporation incorporated under the laws of the State of
                                   _ _ _ _ _ _ and having its principal place of business in a
                                   State other than the State of which plaintiff is a citizen.


                    (If there are more than two defendants, set forth the foregoing information for each
                    additional defendant on a separate page and attach it to this complaint.)
                    Plaintiff states that the matter in controversy exceeds, exclusive of interest and
                    costs, the sum of seventy-five thousand dollars ($75,000.00).


                                                       2
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          B.     (If applicable) Jurisdiction founded on grounds other than diversity
          (Check any of the following which apply to this case).



           •        1.     This case arises under the following section of the Constitution of
                           the United States or statute of the United States (28 U.S.C. §1331):
                           Constitution, Article_ _ , Section_ _
                           Statute, US Code, Title _ _ , Section_ _

                           This case arises because of violation of the civil or equal rights,
                           privileges, or immunities accorded to citizens of, or persons within
                           the jurisdiction of, the United States (28 U.S.C. §1343).

          _0_3.            Other grounds (specify and state any statute which gives rise to such
                           grounds):




   III.   Statement of Claim:

   (State here a short and plain statement of the claim showing that plaintiff is entitled to
   relief. State what each defendant did that violated the right(s) of the plaintiff, including
   dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
   If you intend to allege more than one claim, number and set forth each claim in a separate
   paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
   of the claim[s].)

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   IV.    Relief:

   (State briefly exactly what judgement or relief you want from the Court. Do not make
   legal arguments.)


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  V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the
  present time? Yes £50    NoD

  VI.    Do you claim actual damages for the acts alleged in your complaint?
         Yesm        No   •
  VII.   Do you claim punitive monetary damages? Yes       m     No D


  If you answered yes, state the amounts claimed and the reasons you claim you are entitled
  to recover money damages.

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        VIll.   Administrative Procedures:

                A.   Have the claims which you make in this civil action been presented through
                any ~ of Administrative Procedure within any government agency?
                Yes[!] NoD




IX.     Related Litigation:

        Please mark the statement that pertains to this case:

         ci            This cause, or a substantially cq'l.ivalcnt complaint, was previously filed in
                       this court as case number  :l,(} \~            and assigned to the Honorable
                       Judge _ _ _ _ _ _ _ _ _ _ _ __


         •             Neither this cause, nor a substantially equivalent complaint, previously has
                       been filed in this court, and therefo this case may be opened as an original
                       proceeding.


                                                                   Plaintiff

                                                                      \,~\~~
                                                      Name (Print o Type)

                                                      \~0i t-~ ~ ~~l
                                                      Address




                                                  5
   Case 6:21-cv-01209-SAC-KGG Document 1 Filed 08/31/21 Page 6 of 40




                                           ¼'-~\~ \s \,\\~~
                                                    City   ~   State       Zip Code

                                              i\\\~~~~~'\
                                                    Telephone Number


                         DESIGNATION OF PLACE OF TRIAL

Plaintiff designates J r:fiwichita, OKansas City, or QTopeka} , Kansas as the
                                       (Select One)
location for the trial in this matter.

                                                                 -~
                                                                laintiff


                           REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { r,;;es or QNo     }
                                     (Select One)




Dated:1,-~\--)\
 (Rev. 10/15)




                                             6
                    Case 6:21-cv-01209-SAC-KGG Document 1 Filed 08/31/21 Page 7 of 40
8/31/2021                                      Wichita State player Conner Frankamp applies for diversion in DUI case I The Wichita Eagle



                                                                                                                                                               -
                                                                                                                                                               •




                                                   I       I                      CRIME & COURTS



                               Wichita State player Conner Frankamp applies
                                          for diversion in DUI case

                                                                           By Amy Renee Leiker

                                                                           THE WICHITA EAGLE

                                                                        UPDATED FEBRUARY 26, 2015 01:49 PM




   This undated photo provided by the Sedgwick County Sheriff's Office shows Wichita State basketball guard Conner Frankamp. Frankamp, 19, was arrested Jan. 25 on
  .:~_spi~i~~ of_DUI. AP FILE PHOTO

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     and our Privacy Policy.


https://www.kansas.com/news/local/crime/article 11219951.html                                                                                                        1/5
                                   Case 6:21-cv-01209-SAC-KGG Document 1 Filed 08/31/21 Page 8 of 40
8/31/2021                                                Wich ita State player Conner Frankamp applies for diversion in DUI case I The Wichita Eagle

                                                     Only have a minute? Listen Instead
                                                                                                                                     ·01:31
                                                                                                 Powered by Trinity Audio


                                         Wichita State men's basketball player Conner Frankamp applied for diversion
                                         Thursday in connection with his January DUI arrest.

                                         Frankamp and his attorney made a brief appearance in Wichita Municipal Court on
                                         Thursday morning to announce the 19-year-old's intention to apply for the city's
                                         diversion program. He is due back in court on April 6 for a hearing to determine his
                                         eligibility for the diversion program.

                                         If his application is accepted, the city will postpone criminal proceedings against
                                         Frankamp for a year. In return, he would agree to pay up to $1,452 in fines and fees,
                                         attend and complete a treatment program and abide by any other conditions set by
                                         prosecutors and the municipal court probation office.


                                                       TOP VIDEOS

                                                        AD



                                                                                               WYNDHAM
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                                                        Ad :_(002)    (2)




                                          If Frankamp successfully completes the diversion program, his DUI charge will be
                                          dismissed.

                                          Frankamp also is required to avoid alcohol, drugs, bars, taverns, clubs, liquor stores
                                          and driving without a valid license and insurance under his bond conditions,
                                          according to information from Wichita Municipal Court.




                                          Labor Day Sale
                                          Unlimited digital access - $3 for 3 months

                                            CLAIM OFFER




                                          Asked by the judge in court whether he had questions about the diversion program,
                                          Frankamp said: "No, I don't."


                                                                                                                                   ACCEPT COOKIES
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        ancl our Privacy Policy.


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                          WICHITA STATE
                          UN IVE RS ITV

WSU Policies and Procedures

Student Code of Conduct
Handbook
Effective: Septem ber 09, 2019




    1.   Purpose
         The Student Code of Conduct Handbook outlines how the University will proceed once it is made aware of
         allegations of misconduct by a student, student group, or student organization. The Handbook also serves as a
         companion document to 8.05/Student Code of Conduct          V•bouVpolicy1c11...os,c11s_os.p11p) •   The student conduct process is
         administered by the Student Conduct & Community Standards (SCCS) office. The student conduct process is
         designed to investigate and resolve alleged student misconduct violations in a prompt, thorough, reliable, fair, and
         impartial manner.




   11.   Philosophy
         Wichita State University is a living, learning, and working community dedicated to the personal and academic
         growth of its students and serves as an educational, cultural, and economic driver for Kansas and the greater
         public good. The University also endeavors to provide students with the necessary tools to engage in effective
         communication and to resolve conflicts in an appropriate manner.


         Freedom of inquiry and freedom of expression are valued as critical components in the generation and transfer of
         knowledge to advance the University's mission. The Handbook is designed for the promotion and protection of an
         environment that encourages reasoned discourse, integrity, intellectual honesty, openness to constructive change,
         and respect for the rights and responsibilities of all individuals.


         By choosing to become a member of the University community, students are expected to demonstrate respect for
         themselves and others and to conduct themselves in a manner that is consistent with the Kansas Board of
         Regents' and Wichita State University rules and policies; federal, state, and local laws; and city ordinances. When
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       choosing to become a part of the University community, the student must consider whether they will be able to
       adhere to the Handbook. Being a member of the Wichita State University community is a privilege, and the student
       conduct process will determine if a student's conduct warrants that they should no longer share in that privilege.




111.   Jurisdiction

            A.   Application
                 This policy applies to behavior that is committed:


                       1. by a University student, student group, or student organization;


                       2. by an applicant who becomes a student, for alleged violation(s) committed as part of the
                          application process; or


                       3. by an individual who has transferred, graduated, been academically disqualified, or expelled
                          from the University, for alleged violation(s) committed prior to separation from the University.



            s.   Location and Manner

                       1. On Un iversity property; or


                       2. Off campus, if:


                                a. in connection with a University or University-recognized program or activity;


                                b. in connection with any academic assignment, internship, co-op, practicum, field
                                    experience or trip, clinical experience, student teaching, research, or other academic
                                    activity;


                                c. in connection with any activity sponsored, conducted, or authorized by, or affiliated
                                    with, any student group or organization;


                                d. involving a crime of violence (as defined by 18 U.S. Code §16);

                                            i. an offense that has as an element of the use, attempted use, or threatened
                                                use of physical force against the person or property of another, or


                                            ii. it is a felony and that, by its nature, involves a substantial risk that physical
                                                force against the person or property of another may be used in the course of
                                                committing the offense.


                                e. involving the manufacture, sale, or distribution of illegal drugs or controlled
                                    substances;and/or
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                            f . in a manner that may pose an ongoing, obvious, and/or serious threat of harm to, or
                               that may have the effect of creating a hostile living, learning, or working environment
                               for, any member(s) of the University community or their property.


            The Handbook applies to behavior conducted online, via e-mail or through other electronic mediums.
            Wichita State University does not regularly search for this information but may take action if such
            information is brought to the attention of University officials.


            Alleged violations of sexual misconduct, relationship violence, or stalking that occur in connection with
            an alleged violation of this policy will be resolved through the procedures prescribed in Section
            8.16/Sexual Misconduct, Relationship Violence, and Stalking Policy for Students     (laboutlpolicy/cn..oa1c11e_16.pt"4>J •




1v.   Definitions
          • Advisor - an individual selected by a Complainant or Respondent to assist the Complainant or
            Respondent t hroughout the University process including, but not limited to, a parent, friend, faculty
            member, advocate, or legal counsel. An advisor may advise and assist the Complainant or Respondent in
            preparation for any meetings, interviews, or hearings that may occur; accompany the Complainant or
            Respondent through all student conduct process meetings, interviews, or hearings; or assist the
            Complainant or Respondent in preparing an appeal. An advisor may not participate in the student
            conduct process in any other capacity in reference to the same incident, including, but not limited to,
            serving as a Witness, Co-Complainant, or Co-Respondent. Advisors may not directly participate, speak,
            comment, or make any type of representation or argument on behalf of a Complainant or Respondent in
            any aspect of the student conduct process including, but not limited to: meetings, interviews, or hearings.
            The availability of an Advisor to attend a student conduct process meeting, interview, or hearing shall not
            unreasonably interfere with or delay the proceedings .


          • Appellate Body - a University employee or group who has the authority to review appeal requests in
            accordance with the prescribed University procedures as detailed in the Handbook. Typically the
            appellate body is made up of both students and university staff members.


            Associate Dean - refers to the Associate Dean of Students. The Associate Dean serves as the chief
            student conduct administrator.


            Complainant - individual, group, or organization who was subject to alleged misconduct as described in
            any University policy. There may be more than one complainant for an incident.


          • Conduct Administrator - the Associate Dean, or their designee, authorized to address a student. student
            group, or student organization's concerns and/or behavior, investigate, conduct a hearing, and assign
            sanctions to Respondents if found in violation of the Handbook.


            The Family Educational Rights and Privacy Act (FERPA) - a federal law that, among other things, defines
            student educational records and regulates who may access those records and under what
            circumstances. The purpose of FERPA is to protect the privacy of student education records. FERPA
            applies to individuals and not to student groups or student organizations so long as an individual's
            personally identifiable information is not included in such student group or student organization records.


            Handbook - refers to the Student Code of Conduct Handbook.
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      Hearing - refers to either an Administrative Hearing and/or a Student Conduct Hearing Board Hearing.

      Hearing Board Advisor - a staff member from Student Conduct & Community Standards designated to
      advise members of the Student Conduct Hearing Board during a hearing to ensure that policies and
      procedures are appropriately followed and that the hearing is prompt, fair, and impartial.


      Instructor - any member of the University community who has responsibility for classroom or other
      instructional activities, mentoring, or academic evaluation of a student. This includes, but is not limited
      to, faculty members, instructors, lecturers, researchers, teaching assistants, research assistants,
      graduate assistants, lab assistants, course directors, and undergraduate teaching assistants.


      Member of the University Community - any student, faculty, staff member, or other person employed by
      the University or its affiliates or an individual who is participating in a University-sponsored program or
      activity.


      Respondent - any student, student group, or student organization who has been reported for allegedly
      violating University policy. There may be more than one respondent for an incident. In incidents involving
      student groups or organizations, the president, director, team captain, or other member of student
      leadership will participate in the student conduct process on behalf of the group or organization. Student
      groups and organizations may not be represented by non-students, alumni, inactive members, or coaches
      in the student conduct process; however, such individuals may be selected by a student group or
     organization to serve in the role of Advisor in the student conduct process.


      Reporter - any individual or group who reports alleged policy violations, and who is not otherwise defined
      by this policy as a Complainant, Witness, or Respondent.


     Staff Member - any individual who is employed as an unclassified or university support staff member,
     student employee, or who is employed by a University-affiliate.


     Student - any individual who has been notified of admission to the University; is enrolled in, auditing, or
     participating in any University course or program; or has a continuing relationship with the University. An
     individual is considered a student until they notify the University they are no longer a student or the
     University informs them that they are no longer a student. An individual who has been suspended is still
     considered a student during the suspension period. Students who leave the University before a conduct
     complaint is resolved may be prohibited from future enrollment and/or accessing University records until
     the matter is resolved.


     Student Code of Conduct - refers to section 8.05/Student Code of Conduct in the WSU Policy and
     Procedures Manual.


     Student Code of Conduct Handbook - refers to the all policies and procedures related to section
     8.05/Student Code of Conduct.


     Student Group - any number of persons who are associated with the University and each other, but who
     have not registered, or are not required to register, as a student organization that conducts business or
     participates in University-related activities. Student groups include, but are not limited to, Student
     Government Association, Student Activities Council, musical or theatrical ensembles, sport clubs, the
     University newspaper, or intercollegiate or independent varsity athletic teams.


     Student Organization - any student-led organization that has been approved and is recognized by the
     Student Government Association.
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                University - Wichita State University (WSU} and its affiliates.


           • University Business Day - refers to any day the University is open for official business (usually Monday
                through Friday, not including University breaks or holidays).


           • University Official - any individual employed by the University, acting within the scope of their
                employment including, but not limited to, faculty, staff, Resident Assistants, Peer Academic Leaders,
                Intramural Officials, law enforcement officers, or facility managers.


           • University Policy - any written guidelines of the University or the Kansas Board of Regents as found in,
                but not limited to, the Kansas Board of Regents Policy Manual, WSU Policies and Procedures Manual,
                Housing and Residence Life Handbook, ICAA Manual, Graduate/Undergraduate Catalogs, Student
                Organization & Advisor Handbook, Library Faci lities Policy, Traffic Regulations, and/or Intramural Sports
                Handbook.


                University Premises - any land, building, facilities, vehicles, and other property in the possession of,
                owned, used, leased, or otherwise controlled by the University and/or its affiliates.


                Visitor - refers to any person with an affiliation to Wichita State University who does not meet the
                definition of a student or employee and is involved in an incident.


           • Witness - individual who is requested to participate in an investigation or a hearing because that
                individual may have information about the alleged misconduct. Witness names may be provided by the
                Complainant, Respondent, or others with knowledge of the matter.




v.   Complainant and Respondent Expectati0ns
     The following outlines what complainants and respondents should expect as they engage in the student conduct
     process.


          A. All students, student groups, and student organizations will be entitled to the same rights in all
                investigations and resolution processes relating to reports of alleged violations of the Student Code of
                Conduct.


          B. All students, student groups, and student organizations will be presumed not to have violated the Student
                Code of Conduct unless it is proven that it is more likely than not that a violation has occurred.


          C. All students, student groups, and student organizations will be advised of their rights, in writing, during
                their first meeting with the Associate Dean, or designee.


          0. All students, student groups, and student organizations have the right to:


                      1. Be notified of the alleged violation(s) of University policy;

                      2. Be provided advanced notice of all meetings in which they are requested or entitled to
                           participate and be notified of the purpose of those meetings;


                      3. Be accompanied by an Advisor of the student's, student group's, or student organization's
                           choice throughout the investigation and resolution process;
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                      4. Request reasonable accommodations from the Office of Disability Services                         (/services/disabilityservices/)

                          or the Office of Human Resources     (/services/humanresources/Benefits/ADAAA/index.php)   (for employees) in order
                          to ensure full and equitable participation in the investigation and resolution process;


                      5. Be informed of the available resolution options;


                      6. Be informed of campus and community resources available for support and assistance;


                      7. Submit information, including the names of witnesses, for consideration in the investigation;


                      8. Be informed of all parties contacted to participate in the investigation and their relation to the
                          alleged misconduct;


                      9. Review, after any required redaction, all information to be considered in determining the
                          outcome of the case upon request by scheduling an appointment with the Associate Dean or
                          designee;


                     10. May provide a statement or respond to questions during the investigation and resolution
                          process;


                     11. Submit a written impact statement to be considered before an outcome is reached;


                     12. Request that the Associate Vice President for Student Affairs and Dean of Students consider
                          removing the individual responsible for investigating or resolving an alleged violation from a
                          case on the basis of actual or perceived bias; and


                     13. Request one appeal within the University's process.


            E. Any student, student group, or student organization may elect to waive any of the aforementioned
                expectations so long as the waiver is communicated in writing.




v1.   Prohibited Conduct
      As members of the University community all students, student groups, and student organizations are expected to
      display respect for the rights of themselves and others and to be accountable for their behavior choices.


      It is a violation of the Student Code of Conduct for any student, student group, or student organization to engage in
      behavior that aids, attempts, assists, promotes, condones, encourages, requires, conceals, or facilitates any act
      prohibited by this Handbook. Allowing, permitting, or providing an opportunity for a visitor to violate University
      policy is also prohibited. Lack of familiarity with University policy, intoxication or impairment from alcohol, drugs, or
      other substances, or an individual's disability is not an excuse or a defense to a violation of the Student Code of
      Conduct. Unless specifically noted in the policy definition, intent is not a required element to establish a policy
      violation. The Office of Student Conduct & Community Standards will take the legitimacy of an individual's
      explanation into consideration in the determination of appropriate sanctioning.


      Prohibited conduct that is committed involving a protected class (i.e. race, religion, age, sex, disability status, etc.)
      which includes, but is not limited to, forms of harm and endangerment, physical violence, or harassment will,
      depending on the circumstance, be investigated and resolved under 3.47 /Discrimination Review Procedures for
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               9. Unauthorized Possession, Use, and/or Misuse of Drugs and/or Other Substances -
                  unauthorized possession, use, and/or misuse of drugs and/or other substances which may alter
                  a student's mental state or impair a student's behavior including, but not limited to, marijuana
                  and marijuana byproducts, cocaine, heroin, lysergic acid (LSD), MDMA, steroids, amphetamines,
                  prescription medication, and/or over the counter medication.

             10. Unauthorized Possession and/or Use of Drug Paraphernalia - engaging in the possession
                  and/or use of drug paraphernalia (i.e. any equipment, product, or material that is for making,
                  using, or concealing drugs and/or other substances) including, but not limited to, pipe(s), bong
                  (s), grinder(s), rolling paper(s), or a scale.

             11. Unauthorized Manufacture, Sale, and/or Distribution of Drugs and/or Other Substances -
                  engaging in the unauthorized manufacture, sale, and/or distribution of drugs and/or other
                  substances which may alter a student's mental state or impair a student's behavior including,
                  but not limited to, marijuana, cocaine, heroin, lysergic acid (LSD), MDMA, steroids,
                  amphetamines, prescription medication, and/or over the counter medication.
                                                                                                 -----
                  Driving While Impaired - control or operation of a vehicle (e.g. automobile, motorcycle, bicycle,
                  skateboard, scooter, Segway, hover board, tractor, etc.) while impaired by alcohol, drugs, or



             13. Public Intoxication - being impaired by alcohol or another substance to the point where one's
                  behavior adversely affects, or could affect, the regular operations of members of the University
                  community.



    c.   Damage and/or Destruction of Property
         Engaging in the intentional, reckless, and/or unauthorized defacement, damage, or destruction of
         University property or the property of another.



    D.   Disruptive Behavior
               1. Failure to Comply - failure to comply with the reasonable directive or request (including
                  appearing for meetings or student conduct hearings) of a University official, law enforcement
                  officer, emergency responder, or any protective order including, but not limited to, Protection
                  from Abuse or Stalking Orders, No Contact Orders, No Trespass Notices, building or campus
                  ban/restriction, or removal from campus housing facilities.

               2. Interference with a University Process or Procedure - behavior that disrupts, disturbs, impairs,
                  interferes with, or obstructs the orderly conduct, processes, and functions of the University or
                  the rights of other members of the University community.

               3. Academic Environment Disruption - behavior that disrupts, disturbs, impairs, or interferes with
                  the orderly conduct, processes, and functions within a classroom, laboratory, or other academic
                  environment. This includes interfering with the academic mission of the University, interfering
                  with other students' ability to benefit from the educational program, or interfering with a faculty
                  member's ability to carry out the normal educational functions of any academic environment.
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Students, Employees and Visitors                      (labout1policy/ch_oJ1ch3_47.php)   or 8. 16/Sexual Misconduct, Relationship Violence, and
Stalking Policy for Students                 (/about/policy/ch_08/ch8_16php) .   There may be additional allegations of misconduct claimed at
the same time that will be resolved by the Student Conduct process outlined in the Handbook.


Violations of the Student Code of Conduct may also result in further review and/or investigation under other
policies at Wichita State University. Some examples of these policies include, but are not limited to, 3.06/Sexual
Misconduct, Sexual Harassment, Relationship Violence and Stalking Policy for Employees and Visitors
(labout1policy/ch_oJ1chJ_o6.php) ,   3.19/Prohibition of Retaliation, 3.47 /Discrimination Review Procedures for Students,
Employees and Visitors                 (/about/policy/ch_03/ch3_47.php)   'and 8.16/Sexual Misconduct, Relationship Violence, and Stalking
Policy for Students.


The following list describes actions that detract from the effectiveness of the University community and are
prohibited, but does not include constitutionally protected activity:



         A.   Academic Integrity
              Engaging in prohibited conduct as described by Section 2. 17 /Student Academic Honesty
              (/about/policy/ch_02/ch2_ 17.php) •




         s.   Alcohol, Drugs, & Other Substances
                       1. Underage Possession and/or Consumption of Alcohol - underage possession and/or
                            consumption of alcohol.


                       2. Unauthorized Possession and/or Consumption of Alcohol - possession and/or consumption
                            of alcohol except as expressly permitted by law and University policy.


                       3. Unauthorized and/or Unlawful Distribution, Sale, and/or Service of Alcohol - engaging in the
                            distribution, sale, and/or service of alcohol, regardless of age, except as expressly permitted by
                            law and University policy.


                       4. Possession of Common Source Container(s) - possessing common source alcoholic beverage
                            container(s) including, but not limited to, kegs, mini-kegs, coolers, beer balls, trashcans, and
                            tubs.


                       5. Social Host - permitting any individual or group to consume alcohol in a space owned,
                            occupied, or controlled by the host, except as expressly permitted by law and University policy.


                       6. Excessive and/or Rapid Consumption - engaging in any behavior which encourages, facilitates,
                            or constitutes excessive and/or rapid alcohol consumption including, but not limited to, keg
                            stands, alcohol luges, beer bongs, beer/water pong, and other drinking games.


                       7. Manufacturing and/or Producing Alcohol - engaging in the manufacture or production of any
                            alcoholic beverage including, but not limited to, cereal malt beverage (beer), wine, moonshine,
                            and liquor except as expressly permitted by law and University policy.


                       8. Open Container - possession of an open alcohol container in or on a vehicle (e.g. automobile,
                            motorcycle, bicycle, skateboard, scooter, Segway, hover board, tractor, etc.), in open spaces, or
                            public except as expressly permitted by law and University policy.
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              3. Harassment - engaging in behavior that is severe, pervasive, or persistent to a degree that it
                  interferes with a reasonable person's ability to work, learn, live, participate in, or benefit from the
                  services, activities, or privileges provided by the University. Harassment may occur via written,
                  electronic, verbal, or any other form of communication; or through physical presence; and
                  includes, but is not limited to, bullying, cyberbullying, intimidation, or coercion.


              4. Endangerment - engaging in behavior that endangers the health, safety, or well-being of any
                  individual, student group, or student organization by posing a risk of physical or emotional harm
                  and/or creating hazardous conditions.


              5. Harm or Endangerment of Animals - engaging in behavior that threatens or endangers the
                  health or safety of any animal except as permitted by law or University policy.



   G.   Hazing
        Any act or action which has the potential to endanger the mental or physical health or safety of any
        individual as it relates to an individual's initiation, admission into, or affiliation with any student group or
        organization. It is not necessary that a person's initiation or continued membership is contingent upon
        participation in the activity, or that the activity was sanctioned or approved by the student group or
        organization, for a charge of hazing to be upheld. It shall not constitute an excuse or defense to the
        charge of hazing that the participants took part voluntarily, gave consent to the conduct, voluntarily
        assumed the risks or hardship of the activity, or that no injury was suffered or sustained. The actions of
        alumni, active, new, and/or prospective members of a student group or organization may be considered
        hazing. Hazing is not confined to the student group or organization with which the individual subjected to
        the hazing is associated. Allegations of hazing are considered under the reasonable person standard.
        Hazing includes:


              1. acts that endanger the physical health or safety of an individual including, but not limited to,
                  whipping; beating; paddling; caning; forced calisthenics; forced consumption of alcohol, drugs,
                  food, or any other substances; exposure to the elements; sleep deprivation; kidnapping;
                  abandonment; forced or coerced poor hygiene; or mutilation or alteration of parts of the body;


              2. acts that endanger the mental health or safety of an individual including, but not limited to,
                  personal servitude; forced or coerced exclusion from social contact; forced or coerced wearing
                  of apparel which is conspicuous, out of character, and/or inappropriate; line-ups and berating;
                  morally degrading behavior; or conduct that demeans, disgraces, degrades, humiliates, or
                  embarrasses an individual;


              3. acts that interfere with an individual's academic attendance or performance or other obligations
                  including, but not limited to, religious or employment responsibilities; and/or


              4. acts that explicitly or implicitly encourage or require participation in activities that would
                  constitute a violation of law or University policy.



   H.   Keys/Unauthorized Entry
              1. Unauthorized Entry - engaging in the misuse of access privileges or unauthorized access or
                  entry to any property, building, vehicle, structure, or facility.
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           4. University Event Disruption - behavior that disrupts, disturbs, impairs, or interferes with the
              orderly conduct and processes involved in a University event. University events include, but are
              not limited to, meetings, concerts, speakers, film screenings, theatre or musical performances,
              Convocation, and Commencement.


           5. Disruptive Behavior- behavior that the person knows or should have known will disturb, alarm,
              anger, or provoke others or constitutes a breach of the peace, including, but not limited to,
              unauthorized or unlawful assembly, or engaging in public fighting.



   E.   Fire and General Safety
           1. Breaking the Plane - throwing, dropping, or releasing any object or substance out or off of a
              University building or vehicle without express authorization by a University official. This
              includes, but is not limited to, balconies, railings, roofs, or windows.


           2. Failure to Follow Emergency Procedures - failure to follow emergency procedures during an
              actual emergency or drill including, but not limited to, evacuating during a fire emergency or drill,
              failure to move to the designated shelter during a tornado emergency or drill, or failure to notify
              the University of a fire explosion, chemical spill, or other safety hazard.


           3. Falsely Reporting an Emergency - making a false report regarding an emergency including, but
              not limited to, a bomb threat, a fire, or other emergency.


          4. Fire, Explosion, or Other Safety Hazard - intentionally or recklessly causing a fire, explosion,
              blocking emergency exits, or other safety hazards.


           5. Fireworks, Hazardous Chemicals, or Explosives - unauthorized possession of or use of
              fireworks, hazardous chemicals, or explosives.


          6. Misuse of Emergency Equipment - tampering with, damaging, disabling, interfering with, or
              misusing emergency equipment including, but not limited to, fire alarms, fire doors, fire
              extinguishers, fire sprinklers, fire hoses, the Shocker Alert system, or an emergency call box.



   F.   Harm and Endangerment
          1. Physical Violence - engaging in behavior that intentionally or recklessly causes physical harm
              including, but not limited to, scratching, biting, pulling, throwing objects, pushing, shoving,
              punching, slapping, spitting, pinching, kicking, or holding another against their will.


          2. Threats - engaging in behavior, written or verbal, that causes a reasonable expectation of injury
             to the health, safety, or well-being of any individual, student group, or student organization; or
             damage to property. This behavior includes implied threats or acts that cause another individual
             a reasonable fear of harm. Threats may occur via written, electronic, verbal, or any other form of
             communication.
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    L.   Retaliation
         Engaging in, or causing another to engage in, an adverse action or threat of an adverse action against any
         individual or group involved in the complaint, investigation, and/or resolution of an allegation of a
         violation of University policy; including any individual who attempts to intervene or prevent behavior
         prohibited by this policy. Ret aliation can be com mitted by an individual or group of individuals, not just a
         Complainant or Respondent. Retaliation can take many forms including threats, intimidation, pressuring,
         continued harassment, violence, or other forms of harm to others.



   M.    Sexual Misconduct
         Engaging in sexual misconduct as described by Section 8.16/Sexual Misconduct, Relationship Vio lence,
         and Stalking Policy for Students     (labout/policy/ch_oa,chs_16.pt,pJ •   Any alleged violation of this policy will be
         directed to the Office of Institutional Equity and Compliance.



   N.    Solicitation
         Engaging in unauthorized canvassing or solicitation including, but not limited to, sending advertisements
         or recruit ment mat erials via Blackboard, listservs, or other forms of communicat ion not intended for
         canvassi ng or solicitation; placing flyers under and/or on doors in University facilities or on vehicles.



   o.    Stalking
         Engaging in stalking as described by Section 8.16/Sexual Misconduct, Relationship Violence, and
         Stalking Policy for Students   11about/po1;cy1ch..oa1ch8_16.phpJ •   Any alleged violation of this policy will be directed to
         the Office of Institutional Equity and Compliance.



   P.    Theft
         Engaging in the taking, misappropriation, or possession of University property or the property of another
         including anything of value, goods, services, funds, and/or other valuables or possession of property that
         can be reasonably determined to have been stolen.



   o.    Tobacco Use and Smoking
         Engaging in the use of any tobacco product or device including, but not limited to, cigarettes, cigars,
         e-cigarettes, vaping, hookah, or chewing tobacco within Un iversity property or vehicles as defined by
         Section 11 .11/Tobacco Free Campus            (labout1po11cy1ch..111ch1 u 1.p11pJ •




   R.    Unauthorized and/or Unlawful Gambling
         Conducting, organizing, or participating in any gambling activity except as expressly permitted by law and
         University policy.
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               2. Unauthorized Keys - engaging in the unauthorized possession, duplication, or use of keys or
                  access cards or codes for any property, building, vehicle, structure, or facility.



    1.   Misrepresentation
               1. False or Misleading Information - providing false or misleading information to a University
                  official or law enforcement officer, or purposefully omitting facts which are material to the
                  purpose for which the information is provided .


               2. Falsification - forging, altering, or misusing any University document, record, account,
                  computer account, or instrument of identification.


               3. Misrepresenting Self, the University, or Another - acting as an agent of the University or other
                  individuals without authorization.


               4. Fraudulent Identification - manufacturing, distributing, delivering, selling, providing, purchasing,
                  using, or possessing any form of fraudulent identification.



   J.    Misuse of Computers and/or Communication
         Technology
               1. Misuse of Computers or other Technology - engaging in unauthorized access, use,
                  modification, destruction, disclosure, or taking of data, programs, or supporting documentation
                  maintained by a Wichita State University or WSU-affiliate computer, computer system, account,
                  computer network, phone, tablet, or causing an authorized user to be denied system, computer,
                  account, or network access .


               2. Misuse of Communication Technology - using communication technology to interrupt the
                  normal operations of any individual, group, organization, or the University, including, but not
                  limited to persistent contact with a University employee or other entity via communication
                  technology.


               3. Unacceptable Use - violation of Section 19.01/Acceptable Use                        (Jabout1poiicyich_19Ich1 9_o1.php)   and/or
                  Section 19.05/University Information Technology Resources and Email                            (/about/policy/ch_19/ch19_05.php)

                  or any other policy referenced therein.

               4. Violation of Copyright Law - engaging in unauthorized use or possession of copyrighted
                  material including, but not limited to; downloading, distributing, or facilitating others to be able
                  to access copyrighted music, films, software, or other materials; unauthorized use of
                  copyrighted graphics, logos, or names; or any other violation of Copyright Law.



   K.    Relationship Violence
         Engaging in relationship violence as described by Section 8.16/Sexual Misconduct, Relationship Violence,
         and Stalking Policy for Students   (/about/ pof;cy/ch_08/ ch8_ 16php) .   Any alleged violation of this policy will be
         directed to the Office of Institutional Equity and Compliance.
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              C. Student groups or student organizations who seek emergency medical attention for their members or
                   guests related to the consumption of alcohol, drugs, or other substances will not face disciplinary actions
                   for incidents involving alcohol, drugs, or other substances provided that the group or organization
                   followed the event and risk management procedures outlined in the Student Organization & Advisor
                   Handbook, and provided the group or organization completes any educational program or activity
                   assigned by the Associate Dean or designee; however, this protocol does not provide protection for
                   disciplinary action for other potential policy violations (e.g. damage and/or destruction of property, failure
                   to comply, hazing, physical violence, sexual misconduct, etc.).


              D. This protection applies only to those students, student groups, and student organization who seek
                   emergency medical assistance in connection with an alcohol, drug, or other substance-related medical
                   emergency and does not apply to individuals experiencing an alcohol, drug, or other substance-related
                   medical emergency who are found by University officials.


              E. The Responsible Action Protocol is not intended to shield or protect students, student groups, or student
                   organizations that repeatedly violate University policy. In cases, where repeated policy violations occur,
                   the University reserves the right to take disciplinary action on a case-by-case basis regardless of how the
                   incident was reported. Additionally, the University reserves the right to initiate the student conduct
                   process in cases in which the violation(s) are egregious.


              F. This protocol only provides amnesty from violations of WSU policy. It does not grant amnesty for
                   criminal, civil, or other legal consequences for violations of federal, state, or local laws or ordinances.


              G. The Associate Dean or designee will make a determination regarding eligibility for amnesty under the
                   Responsible Action Protocol during the initial review or investigation.




v111.   Responsibilities of Students, Student Groups, and
        Student Organizations
        All students, student groups, student organizations, and witnesses who are members of the University community
        have the following responsibilities relating to all investigations and resolution processes related to reports of
        alleged violations of the Student Code of Conduct:



             A.    Honesty
                   All participants are expected to be honest and forthright in all communication relating to the investigation
                   and resolution of allegations of misconduct. Providing false or misleading information is a violation of
                   University policy and may result in additional allegations of misconduct under the Handbook or other
                   applicable University policy.



              s.   Communication & Responsiveness
                   The University uses@shockers.wichita.edu e-mail addresses as its formal means of communication with
                   students and@wichita.edu for employees. Communication regarding an investigation and/or resolution
                   process is deemed given when sent to an official@shockers.wichita.edu e-mail address. Students and
                   employees are responsible for checking their University e-mail and responding to all requests for
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             s.    Unpiloted Aerial Systems
                  Engaging in the unauthorized use of any unpiloted aerial system on University premises or at University-
                  related activities except as expressly permitted by law and University policy. Authorization for use of an
                  unpiloted aerial system must be obtained from the University Police Department.



             T.   Violation of Law or University Policy
                            1. Violation of Law - behavior that would constitute a violation of any federal, state, and/or local
                                  law; city or county ordinance; or when in another state or country, the laws of that state or
                                 country.


                            2. Violation of University Policy - behavior that would constitute a violation of any Wichita State
                                 University policy, rule, or regulation including, but not limited to, those found in the Housing and
                                 Residence Life Handbook, Graduate/Undergraduate Catalogs, Student Organization & Advisor
                                 Handbook, WSU Policies and Procedures Manual, /CAA Manual, Library Facilities Policy, Board of
                                 Regents policies, Traffic Regulations, and/or Intramural Sports Handbook.



             u.   Weapons
                  Engaging in the possession, use, sale, distribution, or display of any firearm, replica firearm, ammunition,
                  weapon, replica weapon, or similar device unless expressly permitted by law and/or University policy.
                  This includes the use of any object or material to cause or threaten physical harm. For a listing of
                  prohibited weapons refer to Section 11.19/Prohibiting Weapons on University Property
                  (/about/policy/ch_ 11 /chll _19 php) .




v11.   Responsible Action Protocol
       The health and safety of members of the University community and their visitors is one of Wichita State
       University's top priorities. The University recognizes a student's concern for potential disciplinary action related to
       use or possession of alcohol, drugs, and/or other substances may hinder their actions in response to a medical
       emergency. In order to alleviate those concerns and ensure that students and their visitors receive prompt medical
       attention, the University has adopted a Responsible Action Protocol.


            A. Students are urged to contact emergency officials by calling the University Police Department at (316)
                  978-3450 or 911 to report the incident, to remain with the individual(s) needing emergency treatment and
                  cooperate with emergency officials, so long as it is safe to do so, and to meet with appropriate University
                  officials after the incident and cooperate with any University investigation.


            B. Students who seek emergency medical attention for themselves or others related to the consumption of
                  alcohol, drugs, or other substances will not face disciplinary action for their personal use provided that
                  the student completes any educational program or activity assigned by the Associate Dean or designee;
                  however, this protocol does not provide protection for disciplinary action for other potential policy
                  violations (e.g. damage and/or destruction of property, failure to comply, physical violence, sexual
                  misconduct, etc.).
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                       the rules governing Organizational activities/events.


         2. Location


                  a. The violation(s) occurred at a venue regularly associated with the Organization(s);


                  b. The violation(s) occurred at a venue under the exclusive control of the Organization(s).


                  c. The violation(s) occurred at a venue under the control of Wichita State University or
                       any of its affiliated entities.


         3. Membership Status


                  a. If the individual(s) who committed the violation(s) would not have been involved if not
                       for their affiliation with the Organization;


                  b. If members of the Organization intentionally acted as a group to commit the violation
                       (s).


         4. Knowledge of Organizational Leadership


                  a. If an Organization's leadership had knowledge of the potential for violation( s) to occur
                       and failed to take significant and/or reasonable precautions to prevent the violation(s);


                  b. If the violation(s) occurred at an activity that the Organization's leadership should have
                       known that a violation could occur and failed to take corrective action;


         5. Pattern of Behavior

                  a. If a pattern of individual violations, in relation to any Organization capacity, by
                       Organization member(s) exists, without proper and appropriate organizational control,
                       remedy, or sanction.


         6. Perception of a Reasonable Observer

                  a. If the violation(s) occurred at or in connection with an activity that reasonable people
                       would associate and/or attribute to the Organization;


         7. Planning


                  a. If the violation(s) occurred at an Organization or alumni-sponsored, financed or
                       endorsed activity;

                  b. If the violation(s) occurred at any activity utilizing the Organization's name or logo;

                  c. If the Organization was involved in the planning, coordination or preparation of the
                       activity where the violation(s) occurred;

                  d. If the activity where the violation(s) occurred was advertised or publicized via posters
                       or various forms of social media, by texts, tweets or emails sent out using standard
                       Organization contact lists, or through other electronic means (examples: GroupMe,
                       WhatsApp, etc.);
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        information or other responses within a timely manner. Failure to respond or appear by a given deadline
        may result in the process proceeding in an individual's absence. Decisions will be made on the
        information that is available at the time the decision is made.



   c.   Preparation
        All Complainants, Respondents, and Witnesses are responsible for adequately preparing themselves for
        investigation and resolution meetings, including reviewing applicable University policies and procedures.
        Students, student groups, and student organizations are also responsible for ensuring that their advisor is
        familiar with the appropriate policies and procedures . Fai lure to adequately prepare for a scheduled
        meeting will not be reason for delaying the meeting or other proceedings.



   o.   Adhere to Process
        Individuals, student groups, and student organizations are to refrain from disrupting the orderly process
        of the investigation and resolution process for alleged violations of University policy. No individual,
        student group, or student organization involved in the process other than the investigator, Conduct
        Administrator, or hearing board chairperson may audio or video record any investigation or resolution
        meetings or other portions of the process. Any individual, student group, or student organization deemed
        to be disruptive may be removed from a meeting and/or charged with violating the Student Code of
        Conduct.



   E.   Organization Responsibility Guidelines
        Student Organizations are expected to comply with all University policies, including the Student Code of
        Conduct and all additional policies pertaining to Student Organizations. Student Organizations should act
        in a manner that promotes and upholds the standards of Wichita State University. Isolated violations of
        individuals are generally not chargeable to the Organization. When evidence of group conduct exists,
        however, Organizations may be held responsible for the actions and behaviors of their members and/or
        guests.


        On a case-by-case basis, Student Conduct and Community Standards staff, in consultation with Student
        Involvement staff, will determine whether any violations of policy are individual or organizational in
        nature. In determining whether a violation is organizational in nature, all circumstances of a situation will
        be examined. SCCS staff will take into account the following non-exhaustive list of factors, including, but
        not limited to the following.


        Should there be evidence of at least three (3) factors present in a violation, the associated Organization
        (s) may be held responsible for the violations in question.

              1. Attendance


                        a. The violation(s) was/were committed by a significant number of Organization
                            members, prospective members, alumni, and/or guests;


                        b. The violation(s) occurred at an activity or gathering conducted in furtherance of the
                           mission or purpose of the Organization;


                        c. The violation(s) occurred at an activity or gathering that was designed to circumvent
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             in bad faith. The University encourages all individuals who have experienced or witnessed behavior they
             believe violates the Student Code of Conduct to report the matter so that it may be addressed by the
             University.




x.   Conduct Procedures

        A.   Preliminary Investigation
             A preliminary investigation of the information provided may be necessary in order to determine if there is
             credible information that warrants notifying a student, student group, or student organization of alleged
             policy violation(s). The preliminary investigation is a neutral fact-finding process that is used to
             determine whether there is sufficient information to warrant action by the University. Preliminary
             meetings with the Complainant and/or Witnesses may occur prior to initiating the student conduct
             process or contacting the Respondent. If the Respondent is contacted about the case during the
             preliminary investigation, the Respondent will be made aware of the initiation of a preliminary
             investigation and that the incident could result in a student conduct process being initiated.


             The preliminary investigation may result in any of the following:


                   1. No Action - If there does not appear to be credible information to indicate a violation occurred,
                      the case will not be pursued through the formal student conduct process. The information may
                       still be retained by the University to document that the situation was reviewed.


                   2. Educational Conversation - If the situation is concerning but doesn't appear to be a violation
                       (e.g. an incident which occurs outside of the University's jurisdiction, or repeated low-level
                       behaviors), there may still be an institutional response without formal conduct charges.


                   3. Conflict Resolution - If the situation involves an identifiable harmed party or community
                       impact, the situation may be addressed through conflict resolution. The conflict resolution
                       process allows individuals involved in a conflict to have significant influence over the resolution
                       process and possible outcomes. All involved parties must willingly agree to participate. Any
                       incident that involves sexual misconduct, relationship violence, stalking, physical violence, or
                      any violation of the academic misconduct policy will not have the option to resolve the concern
                      through the conflict resolution process.

                   4. Initiation of Conduct Process - If it appears that a student/student group/student organization
                      may have violated the Student Code of Conduct, and the incident(s) occurred within the
                      University's jurisdiction, the conduct process will be initiated if another resolution option has not
                      been made available by the Associate Dean or designee.



        a.   Written Notice
             Once the initiation of the conduct process has occurred, the student, the responsible party for the student
             group, or the president on record with the University for the student organization will be provided with a
             written notice a minimum of three (3) University business days prior to the scheduled meeting, unless
             exceptional circumstances exist. The notice will include the following:


                   1. The alleged policy violation(s);
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      Additionally, in the event that conduct violation(s) have been deemed to fall under potential organizational
      responsibility, SCCS staff will consult with the Vice President for Student Affairs and the Associate Vice President
      for Student Affairs and Dean of Students regarding the possibility of interim measures, up to and including
      temporary suspension, for that Organization . Any decision regarding interim measures that includes temporary
      suspension of an Organization must come from the Vice President for Student Affairs or their designee.


      Once organizational responsibility has been determined by SCCS staff, a summary of rationale will be submitted by
      the SCCS staff investigators and included in the informational packet provided to the Hearing Board and
      Responding Organizat ion. The Hearing Board may consider testimony and evidence from the Organization to
      dispute a finding of organizational responsibility.


      If the Hearing Board affirms the finding of organizational responsibility, a disagreement of that finding is not
      grounds for an appeal by itself.




,x.   Reporting
      The University encourages students, employees, and community members to resolve conflicts informally and at
      the lowest level.



            A.   Reporting an Incident
                 Any individual may report alleged student, student group, or student organization misconduct to Student
                 Conduct & Community Standards. An online reporting form can be found at
                 https://www.wichita.edu/studentconduct       (1s1uden1conc1uc1J •   The report should describe the alleged
                 misconduct and identify the student(s), student group(s), and/or student organization(s) involved.
                 Submitted allegations of misconduct will be reviewed by the Associate Dean or their designee. If there
                 appears to be reliable information indicating that a violation may have occurred, the student conduct
                 process will be initiated. The University also reserves the right to initiate the conduct process without a
                 formal complaint, including any anonymous reports. Reports may also be addressed through other non-
                 conduct procedures.



            B.   Timeliness of Reports
                 In all cases, a decision will be made on existing facts to determine if an investigation is necessary for
                 compliance with legal requirements and/or to protect the living, learning, and/or working environment for
                 all members of the campus community. Individuals are encouraged to report alleged misconduct as soon
                 as possible after the incident occurs to maximize the University's ability to respond promptly and
                 effectively; however, the University does not limit the time for reporting. Prompt reporting allows for the
                 University to obtain the most reliable information, be able to contact relevant witnesses, and provide
                 reasonable assistance and interim measures for affected parties.



            c.   Assumption of Good Faith Reporting
                 The University presumes reports of alleged policy violations are made in good faith. An outcome that
                 finds the reported behavior does not constitute a violation of University policy, or that there is insufficient
                 information to conclude that the incident occurred as reported, does not mean that the report was made
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              2. A link to the Handbook for more information;


              3. The date and time of a scheduled Informational Meeting;


              4. An explanation of the ability to have an advisor of choice present throughout the student
                 conduct process; and


              5. The contact information for the Student Conduct Administrator responsible for resolving the
                 case.


              6. A checklist of the students' expectations


        Notice is considered given to a student if it is sent to the student's official@shockers.wichita.edu e-mail
        address or is mailed to the local address on file with the Office of the Registrar or to the permanent
        address on file. For student groups and organizations, notice is considered given if it is sent by any of the
        aforementioned means to the student who is the last known president of the student group or
        organization, as provided by Student Involvement office records or the responsible party for the student
        group/organization, such as an advisor.



   c.   Informational Meetin
                    ents are afforded the opportunity to attend a scheduled informational meeting with the
        Conduct Administrator responsible for resolving the case. An informational meeting is an informal
        meeting with a Conduct Administrator who will explain the Respondent's rights and the alleged violation
        (s), discuss resolution options, review the Respondent's responsibilities, and provide an opportunity to
        review, after any required redaction, the information that was provided as the basis for the alleged policy
        violation(s). The representative will also answer questions about the process and available options. The
        informational meeting provides an opportunity for the Respondent to become more informed about the
        conduct process. The Conduct Administrator may provide a range of possible outcomes for the alleged
        violation, but that individual cannot ensure that a specific outcome will occur.


        During the informational meeting, the Respondent will be given the opportunity to select one of the
        available resolution processes (Informal Resolution or Formal Resolution) for the case. In certain
        circumstances, the Associate Dean or designee may exercise the authority to select the resolution
        process. In the absence of a resolution option selection from the Respondent, the Associate Dean or
        designee shall determine the appropriate resolution process for the case. Failure to attend an
        informational meeting shall not delay the student conduct proceedings or impact the validity of such
        proceedings.



   D.   Informal Resolution
        If the assigned Conduct Administrator believes the outcome for the alleged violation would likely not rise
        above Disciplinary Probation or result in removal from a residential facility, the Respondent may elect to
        have the case resolved by Informal Resolution. An Informal Resolution takes place between the
        Respondent and a Conduct Administrator and does not allow for the presentation of witnesses or
        additional information to be submitted by the Respondent prior to the meeting, although the
        administrator may follow up with other parties as necessary before making a decision. Informal
        Resolutions are not audio recorded.
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         An Informal Resolution may occur directly following an Informational Meeting, or may be scheduled for a
         later date. Every effort will be made to schedule an Informal Resolution within ten (1 O) University
         business days of the Informational Meeting. The Conduct Administrator will determine appropriate
         outcomes if a respondent is found in violation of a University policy.



    E.   Formal Resolution
         If the Respondent does not wish to proceed with an Informal Resolution, and/or the outcome of an
         alleged violation would rise above Disciplinary Probation, or result in removal from a residential facility,
         the Respondent may elect to pursue an Administrator Hearing or a Student Conduct Board Hearing.


         Conduct Hearings involve the presentation of information by witnesses (as necessary), and provide an
         opportunity for the Respondent to present witnesses and information for review as part of the decision. A
         list of witnesses, their relevance to the alleged violation(s), and their contact information must be
         submitted, in writing, to the Conduct Administrator within five (5) University business days after the
         Informational Meeting.


         Student groups and student organizations may submit a resolution proposal for consideration by the
         Student Conduct Hearing Board within five (5) University business days after the Informational Meeting.
         The resolution proposal is the student group or organization's opportunity to participate collaboratively in
         the resolution process and demonstrate thoughtful reflection of how to prevent further violations from
         occurring in the future. This document should outline all steps to be taken to remedy the alleged policy
         violations and timelines for completion. The resolution proposal may be adopted or adapted-in whole or
         in part-or denied by the Student Conduct Hearing Board assigned to resolve the case.



               1.   Administrator Hearing
                    An Administrator Hearing is conducted by an individual Conduct Administrator as determined
                    by the Associate Dean. The Conduct Administrator is responsible for determining whether it is
                    more likely than not that a violation occurred and determine appropriate outcomes(s).


                    An Administrative Hearing involves the presentation of information by the Respondent(s),
                    Complainant(s) (if applicable), and any witness(es) (if applicable). The Respondent(s) will be
                    allowed to ask relevant questions of the Complainant(s) and/or any witness(es) at the
                    discretion of the Conduct Administrator. In incidents involving an identified harmed party, the
                    Complainant(s) will also be allowed to ask relevant questions of the Respondent(s) and/or any
                    witness(es) at the discretion of the Conduct Administrator.



               2.   Student Conduct Board Hearing
                    The Associate Dean, or designee, shall determine the composition of the Student Conduct
                    Hearing Board. Members are appointed for a one-year term with the possibility of
                    reappointment. University governance bodies may recommend individuals for membership to
                    the Associate Dean. All members must complete appropriate and thorough training prior to
                    hearing cases.


                    A Student Conduct Board Hearing is conducted by a panel of three (3) or five (5) individuals
                    comprised of students, faculty, and/or staff. A minimum of one (1) panelist must be a student.
                    The Board is responsible for determining whether it is more likely than not that a violation
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                  occurred and determine appropriate outcomes(s). One (1) panelist will serve as the Board
                  Chairperson, selected by the Associate Dean or their designee, and is responsible for
                  communicating the determination of responsibility to the Associate Dean, who will notify the
                  Respondent(s) and Complainant(s) of the decision. Decisions of the Student Conduct Board will
                  be determined by a majority vote. A member of the Student Conduct & Community Standards
                  staff or designee will serve as the Student Conduct Board Advisor and does not cast a vote.



   F.   Hearing Format
        Hearings will be conducted in private in accordance with state privacy laws and the Family Educational
        Rights and Privacy Act (FERPA).


        The Complainant, Respondent, and their respective advisors are permitted to attend the entire hearing,
        except for deliberation.


        In cases involving multiple Respondents, the Associate Dean or designee may determine that the
        hearings be conducted jointly. Any Respondent wanting to have their hearing conducted individually, may
        submit a written request a minimum of three (3) University business days prior to the scheduled hearing
        to the Associate Dean or designee who shall decide whether to grant the request.


        The Complainant, the Respondent, and the University may arrange for witnesses to attend the hearing
        and present relevant information. Failure to call a witness, or failure of a witness to appear shall not
        automatically require a delay or affect the validity of the proceedings. A decision will be made on the
        information presented during the hearing.


        Witnesses will provide information to, and answer questions from, the hearing body. Questions may be
        suggested by the Complainant or the Respondent to be answered by each other or by other Witnesses.
        This will be conducted by the hearing body with such questions directed to the Conduct Administrator or
        Conduct Board chairperson, rather than to the individual directly. This method is used to preserve the
        educational tone of the hearing and to avoid creation of an adversarial environment. The Conduct
        Administrator and/or the Hearing Board chairperson reserve the right to rephrase the question or to
        refrain from asking the question. Questions of whether potential information will be received shall be
        determined by the Conduct Administrator, or Hearing Board chairperson, with the assistance of the
        Student Conduct Board Advisor.


        Relevant records, pictures, written statements, impact statements, and other information may be
        accepted for consideration for the hearing when submitted to Student Conduct & Community Standards
        within five (5) days following the Informational Meeting.


        All procedural questions are subject to the final decision of the Conduct Administrator, Hearing Board
        chairperson with the assistance of the Student Conduct Board Advisor.


        If the Respondent, with adequate notice, does not attend a hearing, the hearing shall proceed in the
        Respondent's absence.


        SCCS may accommodate concerns for the personal safety, well-being and/or fears of confrontation of
        the Complainant, Respondent, Reporter, and/or Witnesses during the hearing by providing separate
        facilities, by using a visual screen, and/or by permitting participation by telephone, videophone, closed
        circuit television, video conferencing, video tape, audio tape, written statement, or other means, where the
        SCCS staff member deems this accommodation to be appropriate.
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   G.   Standard of Information
        The Conduct Administrator or Student Conduct Board will make a finding using the preponderance of the
        evidence standard. This standard requires that it is more likely than not that a violation occurred. Under
        this standard, individuals are presumed not to have violated Section 8.05/Student Code of Conduct
        unless a preponderance of the evidence supports a finding that a violation occurred. Formal rules of
        evidence, procedure, and/or technical rules of evidence, such as those which may be applied in criminal
        or civil court are not used in University student conduct proceedings.



   H.   Pending Legal Charges and Requests for
        Postponement
        Student conduct proceedings may be initiated for a student, student group, or student organization for
        behavior that allegedly violates criminal and/or civil law in addition to University policy. The University is
        committed to appropriate coordination with WSUPD and local law enforcement agencies and may, if
        requested and appropriate, share information with those agencies. In the event that law enforcement
        requests the University to temporarily suspend the fact-finding aspects of an investigation while the law
        enforcement agency gathers evidence, the University plans to comply with that request and will promptly
        resume its investigation upon notification from the law enforcement agency that its evidence gathering
        process is complete.


        The student conduct process may proceed prior to, simultaneously with, or following criminal or civil
        proceedings at the discretion of the Associate Dean.


        Decisions made within a criminal or civil process do not bind the University to establish or not establish
        that a violation of University policy has occurred as there are different evidence rules, burdens of proof,
        purposes, and potential outcomes in each process. However, a criminal conviction based on the same
        facts, in local, state or federal courts, shall establish a per se student conduct policy violation.


        If a Respondent is also charged with a criminal or civil violation involving the same incident, the student,
        student group, or student organization may request up to a 30-day postponement of the student conduct
        process. The student, student group, or student organization must make this request in writing within five
        (5) University business days following the date of the Informational Meeting and must provide a rationale
        for the request. The Associate Vice President for Student Affairs and Dean of Students may determine
        that it is appropriate to place the Respondent on Disciplinary Probation or request that the Vice President
        for Student Affairs or designee implement interim measures during the time period allotted for a
        postponement on a case-by-case basis. The Probation or interim measures will remain in effect until the
        hearing is completed, including any appeal requests. It will then be the responsibility of the student,
        student group, or student organization to notify SCCS at the conclusion of the 30-day period to reinstate
        the conduct process.


        In cases where one or more University community member is directly impacted by the incident, such as a
        Complainant, they will be given the opportunity to object to a postponement. The Associate Vice
        President for Student Affairs and Dean of Students or designee has full authority to decide whether or not
        to grant the postponement. A Complainant may also request a 30-day postponement of the hearing if the
        Complainant has brought criminal or civil charges in a case arising out of the same incident. The
        Respondent may object to the postponement as described above. If the Complainant requests a
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               postponement, and it is granted against the wishes of the Respondent, the Respondent will not be placed
               on Disciplinary Probation or given interim measures that would restrict continuing to pursue their
               education during the period of postponement.




x1.   Process Outcomes
      Students, student groups, and student organizations will be notified in writing via e-mail to their official University
      e-mail address whether they have been found in violation of University policy, and if so, their assigned sanctions.
      Sanctions may be issued individually, or a combination of sanctions may be issued. In the case of student groups
      and organizations, if a sanction issued by a national or other governing body exceeds that of the University, the
      University may concur with that sanction.


            A. Students, student groups, and student organizations who are found not responsible for violat ing Section
               8.05/Student Code of Conduct, will not receive any outcomes and charges will be dismissed.


            B. Students, student groups, and student organizations who are found to have violated Section 8.05/Student
               Code of Conduct will receive outcomes appropriate to the current violation(s) and in consideration of any
               prior conduct history and/or mitigating or aggravating circumstances. For student groups and
               organizations, "prior conduct history" includes incidents occurring within the preceding seven (7) years.
               The number of outcomes issued may vary depending on the situation in question. In the case of student
               groups and organizations, if an outcome is issued by a national or other governing body exceeds that of
               the University, the University may concur with that decision.



                      ,. Interim Measures
                         When the actions of a student or member(s) of a student group or organization present an
                         ongoing threat to the health, safety, or well-being of others; disrupt the University community; or
                         endanger University, public, or private property; the Vice President for Student Affairs or
                         designee may implement interim measures that restrict access for the Respondent pending the
                         outcome of an investigation and resolution process. These interim measures may include, but
                         are not limited to:

                                a. Restricted communication with one or more individual(s), group(s), or organization(s);


                                b. Restricted access to participation in University programs or activities;


                                c. Restricted access to Housing & Resident Life facilities, including dining halls;


                                d. Restricted ability to participate in academic activities, including classes, internships,
                                   co-ops, etc.;

                                e. Restricted access to campus employment;

                                f. Administrative leave with pay for student employees; or


                               g. Any other restriction that can be tailored to the involved individuals to achieve the
                                   purpose of 8.05/Student Code of Conduct.
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              The Vice President for Student Affairs or designee will notify the Complainant and Respondent
              in writing of any interim measures. The measures will take place immediately upon notification.
              The Respondent will have three (3) University business days to e-mail a written request for a
              Show Cause Hearing to the Vice President for Student Affairs or designee. Upon receipt of a
              request, the Vice President or designee will conduct a Show Cause Hearing within three (3)
              University business days to determine if the interim measures should be lifted, modified, or kept
              in place. This is a final decision regarding interim measures unless there are exceptional
              circumstances that come to light during the investigation.


              In circumstances in which the Respondent requests, in writing, that the Vice President of
              Student Affairs remove themselves from the Show Cause Hearing on the basis of actual or
              perceived bias, or the Vice President for Student Affairs is otherwise unable to perform these
              duties, decisions regarding interim measures will be made by the Associate Vice President for
              Student Affairs and Dean of Students or designee.


              At any point in the process, interim measures may be implemented. Once in effect the
              measures will remain in place until it is determined they are no longer necessary.



         2.   Sanctions
                       Disciplinary Warning - This written warning is provided to acknowledge a written
                       notice given to draw the Respondent attention to the fact that their behavior violated
                       appropriate with University policy, and does not align with Wichita State University's
                       expectations for community members. Please understand that should you be a
                       breach of University policy occur again or you are found responsible for any future
                       violations of University and/or HRL policy, offenses, you may expect to receive more
                       severe disciplinary action.


                       Disciplinary Probation - The student is deemed not in good conduct standing with the
                       University. The duration of any probationary period will be determined by the
                       resolution body on a case-by-case basis. Any further violations of University policy
                       while on probation may result in more serious sanctions being imposed, which may
                       include suspension or expulsion from the University. Restrictions that may be placed
                       on the student during the probationary period include, but are not limited to:
                       participation in student activities, representation of the University on athletic teams or
                       in other leadership positions, eligibility to receive any University award or honorary
                       recognition, entrance into University residence halls or other areas of campus,
                       participation in a study abroad program, or University computer and network usage.


                       Deferred Suspension - The student is deemed not in good conduct standing with the
                       university and will be officially suspended from the University. However, the
                       suspension will be deferred, meaning the student may continue to attend classes, but
                       the suspension will be automatically enforced for failure to complete any assigned
                       sanctions by the deadline and/or for any subsequent violation of University policy,
                       unless the Associate Dean determines otherwise. If the student is found responsible
                       for any subsequent violation of Section 8.05/Student Code of Conduct, the student will
                       be automatically suspended for the length of the original deferred suspension in
                       addition to any other sanctions imposed for the subsequent violation. Some of the
                       restrictions that may be placed on the student during the deferred suspension period
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                    Residence Hall Transfer or Removal - The student will be placed in another room or
                    residence hall or restricted from living on campus for a specified or indefinite period. If
                    a student is restricted from living on campus, the student's Housing and Residence
                    Life contract will be terminated and the student will be responsible for paying any
                    remaining fees for the duration of the original contract period.


                    No Contact Order - The student is prohibited from intentional direct or indirect
                    contact with another person or group or their property via any means, including, but
                    not limited to: personal contact, electronic communication (e.g. text messages, social
                    media, etc.), telephone, or through third parties.


                  • Campus and/or Building Ban - The student is prohibited from being on any campus
                    property and/or entering specific University facilities. Any student alleged to have
                    violated a campus and/or building ban may be subject to additional disciplinary action.


                  • No Trespass Order - The student is prohibited from being on any campus property
                    and/or entering specific University facilities. Any student alleged to have violated a
                    campus and/or building ban may be subject to arrest.


                  • Knowledge Attainment Activities - Activities designed to increase a student's
                    knowledge in areas related to the violation(s) committed including, but not limited to:
                    attending workshops, researching a specific topic, interviewing a professional in a
                    specific field, etc.


                  • Restorative Activities - Activities designed to repair harms caused and give back to
                    others or the larger community including, but not limited to: community restitution
                    service, letters of apology, educational presentations, etc.


                    Wellness Activities - Activities designed to address student's wellness in areas
                    including social, emotional, financia l, physical, academic, and environmental wellness
                    including, but not limited to: substance use assessments, counseling assessments,
                    meeting with an academic advisor, meeting with a Student Involvement staff member,
                    etc.


                  • Reflective Activities - Activities designed to allow the student to reflect on one's own
                    behavior choices and the impact of those choices on the student and others, including
                    potential future impacts if the same choices continue.



          3.   Sanctions for Student Groups and Organizations
                  • Disciplinary Warning - Official notification of unacceptable behavior and violation(s)
                    of Section 8.05/Student Code of Conduct. Any further misconduct may result in more
                    serious disciplinary sanctions.


                    Disciplinary Probation - The student group or organization is deemed not in good
                    conduct standing with the University. The duration of any probationary period will be
                    determined by the resolution body on a case-by-case basis. Any further violations of
                    University policy while on probation may result in more serious sanctions . Some of the
                    restrictions that may be placed on the student group or organization during the
                    probationary period include, but are not limited to: ability to host a party or
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                 include, but are not limited to: participation in student activities, representation of the
                 University on athletic teams or in other leadership positions, eligibility to receive any
                 University award or honorary recognition, entrance into University residence halls or
                 other areas of campus, participation in a study abroad program, or University
                 computer and network usage. The duration of any deferred suspension period will be
                 determined by the resolution body on a case-by-case basis.


                 Suspension - The student is required to leave the University for a designated period of
                 time. During the suspension period, a student may not attend classes (either in person
                 or online), or participate in student group or student organization activities, whether
                 they occur on or off campus. A student may be withdrawn from any classes in which
                 the student is currently enrolled and will not be eligible for a refund. A registration and
                 records hold will be placed on the student's account until the conclusion of the
                 suspension period. If the student is an on-campus resident, the student's contract with
                 Housing & Residence Life will also be terminated and the student will be responsible
                 for paying any remaining fees for the duration of the original contract period. The
                 student must successfully complete all assigned educational sanctions prior to the
                 conclusion of the suspension period. The suspension will remain in effect until they
                 are completed. Any further violations of University policy while on suspension could
                 result in more serious sanctions being imposed.


                 Expulsion - The student will be separated from the University without the possibility
                 of graduation or future enrollment. The student may not be present on University
                 premises unless authorized in writing in advance under conditions approved by the
                 Associate Dean. A student may be withdrawn from any classes in which they are
                 currently enrolled and will not be eligible for a refund. A permanent registration hold
                 will be placed on the student's account. If the student is an on-campus resident, the
                 student's contract with Housing & Residence Life will also be terminated and the
                 student will be responsible for paying any remaining fees for the duration of the
                 original contract period.


                 Withholding of Transcripts or Degree - The University may withhold copies of student
                transcripts or awarding a degree otherwise earned until the completion of the process
                 set forth in the Handbook, including the completion of all assigned sanctions.


                Revocation of Admission and/or Degree - Admission to the University or a degree
                awarded from the University may be revoked for fraud, misrepresentation, or other
                violation of University policy in obtaining the degree from or gaining admission to the
                University or for other serious violations committed by a student prior to graduation.

                Restitution - The student is required to pay for the loss of, damages to, or injury to
                University, personal, public, or private property, provided that such payment shall be
                limited to the actual cost of repair or replacement of such property.


                Loss of University Privileges - The student is restricted from accessing specific
                University privileges including, but not limited to: parking on campus, participation in
                student activities, holding a student leadership position, participation in a study abroad
                program, and University computer and network access.
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                • No Contact Order - The student group or organization is prohibited from intentional
                  direct or indirect contact with another person or group or their property via any means,
                  including, but not limited to: personal contact, electronic communication (e.g. text
                  messages, social media, etc.), telephone, or through third parties.


                  Campus and/or Building Ban - the student group or organization is prohibited from
                  being and/or operating on any campus property and/or entering specific University
                  facilities. Any student group or organization alleged to have violated a campus and/or
                  building ban may be subject to additional disciplinary action.


                • Recommendation for Charter Revocation - The University will submit an official
                  request to the national or other governing organization to revoke the charter for a
                  student group or organization.


                • Restitution - The student group or organization is required to pay for the loss of,
                  damages to, or injury to University, personal, public, or private property, provided that
                  such payment shall be limited to the actual cost of repair or replacement of such
                  property. University and/or student fee funds may not be used to pay restitution.


                  Loss of University Privileges - The student group or organization is restricted from
                  accessing specific University privileges including, but not limited to: ability to host a
                  party or philanthropic event, eligibility to receive any University award or honorary
                  recognition, participate in intramurals, represent the University and any travel in
                  connection with such representation, participate in recruitmenVintake or receive a new
                  member class, maintain membership or representation of the organization on the
                  governing council, utilize University facilities/grounds, participate in competitions, or
                  receive future institutional funding.


                  Knowledge Attainment Activities - activities designed to increase members'
                  knowledge in areas related to the violation(s) committed including, but not limited to:
                  attending workshops, researching a specific topic, interviewing a professional in a
                  specific field, etc.


                • Restorative Activities - activities designed to repair harms caused and give back to
                  others or the larger community including, but not limited to: community restitution
                  service, letters of apology, educational presentations, etc.


                • Wellness Activities - activities designed to address members' wellness in areas
                  including social, emotional, financial, physical, academic, and environmental wellness
                  including, but not limited to: risk management workshops, assessment and revision of
                  risk management practices, financial management training, communication or
                  teambuilding workshops, leadership or values congruence workshops, etc.


                • Reflective Activities - activities designed to allow the student group or organization to
                  reflect on its members' behavior choices and the impact of those choices on the
                  group/organization and others, including potential future impacts if the same choices
                  continue.
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                 philanthropy event, eligibility to receive any University award or honorary recognition,
                 participate in intramurals, represent the University and any travel in connection with
                 such representation, participate in recruitment/intake or receive a new member class,
                 maintain membership or representation of the organization on the governing council,
                 utilize University facilities/grounds, participate in competitions, or receive future
                 institutional funding.


                 Deferred Suspension - The student group or organization will be officially suspended
                 from the University, but the suspension will be deferred, meaning that the student
                 group or organization may continue to function at this time. The suspension will be
                 automatically enforced for failure to complete any assigned sanctions by the deadline
                 and/or for any subsequent violation of University policy, unless the Director
                 determines otherwise. If the student group or organization is found responsible for any
                 subsequent violation of Section 8.05/Student Code of Conduct, the student will be
                 automatically suspended for the length of the original deferred suspension in addition
                 to the other sanctions imposed for the subsequent violation. Some of the restrictions
                 that may be placed on the student during the deferred suspension period include, but
                 are not limited to: ability to host a party or philanthropic event, eligibility to receive any
                 University award or honorary recognition, participate in intramurals, represent the
                 University and any travel in connection with such representation, participate in
                 recruitment/intake or receive a new member class, maintain membership or
                 representation of the organization on the governing council, utilize University
                 facilities/grounds, participate in competitions, or receive future institutional funding.


                 Suspension - The student group or organization is no longer recognized by the
                 University for a designated period. During the suspension period, a student group or
                 organization may not conduct any formal or informal business, or participate in
                 University-related activities, whether they occur on or off campus. This includes, but is
                 not limited to: ability to host a party or philanthropic event, eligibility to receive any
                 University award or honorary recognition, participate in intramurals, represent the
                 University and any travel in connection with such representation, participate in
                 recruitment/intake or receive a new member class, maintain membership or
                 representation of the organization on the governing council, utilize University
                 facilities/grounds, participate in competitions, or receive future institutional funding.
                 Re-recognition is possible but not guaranteed and will only be considered after the end
                 of the suspension period and based on meeting all re-recognition criteria and
                 obtaining clearance from the University. Any evidence that members of a student
                 group or organization have attempted to sustain an unofficial student group or
                 organization will result in individual charges and will postpone the group or
                organizations ability to be re-recognized or registered in the future. Any further
                violations of University policy while on suspension will result in more serious
                 sanctions being imposed. In most cases, the minimum suspension for an
                organization will be no shorter than two years. During the last three months or an
                organization's suspension, a group will be allowed to work with the Vice President for
                Student Affairs, or designee, to create a transition plan for their reactivation.


                Expulsion - The student group or organization will permanently lose its University
                recognition and/or registration and is ineligible to utilize University resources including
                facilities and financial support.
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x11.   Appeals
       Following written notification of the outcome of their cases, Respondents may submit one appeal request within
       the University's process. The burden is on the individual requesting the appeal to prove that the appeal has merit.
       Appellate reviews are reviews of the record only.



            A.   Appeal Request Grounds
                 Any Respondent or Complainant who participated in the entire conduct process and wish to file an
                 Appeal must do so, in writing within five (5) University business days of the date of the outcome letter.
                 Appeal requests may be filed on one or more of the following grounds:

                          1. A procedural or substantive error occurred that significantly affected the outcome of the case.

                          2. There is new, relevant information that could not have been reasonably discovered or was not
                               available at the time of the original decision that, if available, could have significantly affected
                               the outcome of the case. This does not include statements from a Complainant or Respondent
                               who chose not to participate in the investigation, review, and/or hearing.



            B.   Appeal Req uest Procedures
                 Appeal requests must be submitted in writing via the online Appeal Request Form
                 (httpsJtcm maxlent.com/reportingfonn.php?WlchltaSlatelJnlv&layooLld=5) •   Once completed, the Appeal Request Form will be
                 processed by SCCS. SCCS will convene an Appellate Body to review the appeal. The Appellate Body for
                 individual conduct cases will be made up of 3 or 5 individuals. Generally this is two staff and one student
                 or three staff and two students. For organizational conduct issues, the Vice President of Student Affairs,
                 or designee, will convene an Appellate Body consisting of organizational presidents or their designee,
                 organizational governing body members, alumni, advisors, and/or current staff/faculty.



                 The original Conduct Administrator or Student Conduct Board Advisor will provide a written response to
                 the appeal request within three (3) University business days of receiving notice of the appeal request,
                 unless a request to extend this time period has been made and granted prior to the expiration of the three
                 (3) University business day requirement.

                 Upon receipt of the appeal request. written response, and case file, the Appellate Body will conduct a
                 review of the file limited to the grounds identified by the filing party. The Appellate Body will issue a
                 written response to the appealing party within five (5) University business days, unless a request to
                 extend this time period has been made and granted prior to the expiration of the five (5) University
                 business day requirement.

                 Great deference is given to the original decision. The presumption is that the investigation and decision
                 processes were appropriately conducted and the burden is on the party requesting the appeal to prove
                 the appeal has merit. Appellate reviews are reviews of the record only. There are no additional meetings
                 with the Complainant or Respondent unless there are exceptional circumstances as determined by the
                 Appellate Body, in which case the Appellate Body must offer both the Complainant and the Respondent
                 the same opportunity to discuss the case.
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              c.   Appeal Request Outcomes
                   Upon review of the record, the Appellate Body may respond as follows:


                         1. Determine the appeal lacks standing and is dismissed, in which case the original decision
                            stands;


                         2. Determine that the appeal has standing and remand the case back to the original Conduct
                            Administrator or Student Conduct Board to consider new information or reevaluate previous
                             information; or


                         3. Determine that the appeal has standing and remand the case to a new Conduct Administrator or
                            Student Conduct Board with specific corrective instructions.


                         4. Determine the appeal has standing but the appellant has not provided information to
                            substantiate that the outcome of the case was significantly affected; in which case the original
                            decision stands.


                   The Appellate Body's decision is considered the final University decision and will be communicated in
                   writing . The Appellate Body will review and respond to the appeal within five (5) University business days
                   of receipt of all documentation but may extend this period of time for specific reasons that will be
                   communicated in writing to the appealing party.


        In circumstances in which the appealing party requests, in writing, that the Appellate Body remove themselves
        from the Appeal on the basis of actual or perceived bias, or in cases in which the Appellate Body is otherwise
        unable to perform these duties, appeal decisions may be made by another Appellate Body as determined by the
        Vice President for Student Affairs.




x111.   Records

             A.    Holds and Removal of Active Status
                   Student Conduct & Community Standards staff, the Associate Vice President for Student Affairs and
                   Dean of Students, Housing & Residence Life staff, and/or the Vice President for Student Affairs may
                   place a hold on a student's transcript, registration, and/or diploma; or remove a student group and/or
                   student organization's active status and ability to conduct operations in any of the following situations:

                         1. A student, student group, or student organization has committed a violation of Section
                            8.05/Student Code of Conduct culminating in suspension or expulsion;

                         2. A student, student group, or student organization has been given interim restrictions pending an
                            investigation and resolution of allegations of misconduct;


                         3. A student, student group, or student organization has failed to schedule or attend a required
                            University meeting or hearing;


                         4. A student, student group, or student organization has failed to complete one or more sanctions
                            by the assigned deadline; or
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              5. An individual who is no longer attending the University exhibits ·disruptive behavior which is
                 impacting the University community, and it is the determination of the Vice President for
                 Student Affairs or designee that a review of the student's file and meeting with the student
                 occur prior to the student's re-t!nrollment.



   s.   Record Retention
        Student conduct records, including investigation records, are maintained electronically by Student
        Conduct & Community Standards for seven (7) years from the date the case is closed. A record is
        considered closed when the following criteria have been met:


              1. It is determined that the student, student group, or student organization was not in violation of
                 University policy; or


              2. The student, student group, or student organization was in violation of University policy; and all
                 periods of probation, deferred suspension, or suspension and all associated outcomes have
                 been completed; or


              3. a student, student group, or student organization has been expelled from the University.


        If a student remains enrolled after the record is closed, the record will be maintained until the student
        graduates or is no longer enrolled at the University. When a student proceeds directly from one academic
        program into another academic program (e.g. undergraduate study to graduate study), the records will be
        maintained until the completion of the final academic program. Student group and organization records
        will be maintained for a minimum of seven (7) years after the record is closed. Records of incidents
        culminating in deferred suspension, suspension, or expulsion will be permanently maintained by the
        University.



   c.   Access to Records
        Student Conduct & Community Standards does not make copies of conduct files or audio recordings. If a
        student, student group, or student organization wishes to review its own conduct file, they may do so by
        scheduling an appointment with Student Conduct & Community Standards office. The file may be
        redacted to protect privacy concerns and to comply with federal and local law.


        In instances when the student lives more than 150 miles from campus, a redacted copy of the conduct
        file may be provided upon request and at the expense of the requestor to be paid in advance of preparing
        it for transfer. Payment must be received prior to the release of the records . Reasonable costs for making
        copies, transcribing audio recordings, and/or staff time spent redacting personally identifiable
        information of other students may be included in calculated costs. This provision only applies to the
        student's location, not that of an advisor and/or family member.



   o.   Records of Other Entities
        Police reports may be obtained by contacting the records department at the law enforcement agency
        which issued the report. In the State of Kansas, police reports are not considered public records;
        therefore, limited information will be accessible upon request.
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x,v.   Emergency Contact Notification
       The University reserves the right to notify the parent(s)/guardian(s) of dependent students and/or a student's
       emergency contact regarding any conduct situation which poses a health or safety risk to the student or others,
       particularly alcohol and/or other drug violations. The University may also notify parent(s)/guardian(s) of non-
       dependent students who are under the age of 21 of alcohol and/or other drug violations. Parental notification may
       also be utilized discretionarily by Conduct Administrators when permitted by FERPA or consent of the student.
